Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 1 of 66




        Exhibit 6
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 2 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 3 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 4 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 5 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 6 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 7 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 8 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 9 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 10 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 11 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 12 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 13 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 14 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 15 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 16 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 17 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 18 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 19 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 20 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 21 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 22 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 23 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 24 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 25 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 26 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 27 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 28 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 29 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 30 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 31 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 32 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 33 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 34 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 35 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 36 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 37 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 38 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 39 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 40 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 41 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 42 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 43 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 44 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 45 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 46 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 47 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 48 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 49 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 50 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 51 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 52 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 53 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 54 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 55 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 56 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 57 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 58 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 59 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 60 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 61 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 62 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 63 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 64 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 65 of 66
Case 5:18-cr-00258-EJD Document 1142 Filed 11/12/21 Page 66 of 66
